                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE – COURTROOM 3A

 Case #: 3:22-CR-25                                                         Date: June 28, 2022

          United States of America           vs.   Billy Allen Wright

   3UHVHQW%HIRUH Honorable Jill E. McCook, United States Magistrate Judge

          Mallory Dahl                       ECRO                              Travis Worthington
          &RXUWURRP'HSXW\                   Court Reporter                    Probation Officer


          Cynthia Davidson                   Jonathan Moffatt
          Asst. U.SAtty                    Att\(s) for Defendant(s)          $WW\ V IRU'HIHQGDQW V  &RQW
 Proceedings: Parties present for an ✔ Initial Appearance ✔ Arraignment on an Indictment.
     ✔ Defendant sworn.
     ✔ Defendant requested appointment of counsel and submitted financial affidavit.
     ✔ Court approved financial affidavit and appointed counsel
        Defendant present with retained counsel.
     ✔ Plea entered:        ✔ Not Guilty                       Guilty
     ✔ Government requested detention of the defendant:
              ✔ Defendant waived and reserved the right to a detention hearing.
                Defendant requested detention hearing.
                                 Detention hearing set.       Detention hearing held.
        Parties agreed to conditions on which the defendant could be released.
     ✔ Court set schedule and scheduling order to enter.
        With the exception of new deadlines set out below, the schedule in this case is governed by
        the Order Continued Dates and Deadlines, which was previously entered in this case.
        Scheduling Order provided to counsel.
         &DVHXQGHUVHDODVWRGHIHQGDQW8QVHDOHGXSRQJUDQWLQJRIPRWLRQE\$86$
                                                                                      7RUHPDLQXQGHUVHDO
 Dates set at this hearing:                                                          DHDGOLQHV set at this hearing:
✔ Jury Trial: 9/6/22 at 9:00 a.m. before USDJ Crytzer                             ✔ Discovery DDL: 7/5/22
✔ Pretrial Conf.: 8/23/2022 at 10:00 a.m. before USMJ McCook                      ✔ Motion Cut-Off: 
                                                                                                       7/26/22
  Detention Hrng.:                                                                ✔ Response ''/
                                                                                                      8/9/22
  0RWLRQ+UQJ                                                                    ✔ 5HFLSURFDO'LVF
                                                                                                       8/23/22
  6WDWXV&RQI                                                                    ✔ 3OHD''/8/8/22


            'HIHQGDQWUHPDQGHGWRFXVWRG\         Defendant released on Order Setting Conditions of Release.
7LPH 10:00 a.m.       WR 10:15 a.m.
            ,     Mallory Dahl      'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLR ILOH
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